
PER CURIAM.
By petition seeking belated appeal pursuant to Florida Rule of Appellate Procedure 9.140(j), petitioner asserts that he timely requested that court appointed counsel file a notice of appeal. In response to an order to show cause, the state does not object to the belated appeal. Accordingly, we grant the request for a delat-ed appeal of the December 22, 1998, judgment and sentence entered in Gadsden County Circuit Court case number 98-74-CFB. The trial court shall treat this court’s mandate as the notice of appeal. Fla. R.App. P. 9.140(j)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
JOANOS, KAHN and PADOVANO, JJ., concur.
